                     EXHIBIT B




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  Ronald G. Harris

  From:                               Ronald G. Harris
  Sent:                               Thursday, June 6, 20242:41 pM
  To:                                 Katherine Barrett Riley
  Cc:                                 Philip N. Elbert; Olivia R. Arboneaux; Nanci-Taylor Maddux
  Subject:                            RE: Sills v. Southern Baptist Convention et al



  Hi Katherine, sorry that you have to deatwith this on your vacation. As I
                                                                            overheard phit Etbert ask you in the phone
  cat[, we need additionat time to respond on behatf of Jennifer to the outstanding
 discovery requests. we appreciate you originatty granting us an extension
                                                                               untit JuneT.ln my prior request I had
 asked for a longer extension than June 7, suspecting the time needed due
                                                                              to amount of information we woutd have
 to go through and the togistics of doing so. During that prior conversation, you
                                                                                  said you woutd consider additionat
 time if we needed it. Atthough we have made significant progress, we stitt
                                                                              need some additionat
 time to complete our response. I understand from tisteningio your conversation
                                                                                      with phit, that you woutd not be
 wilting to give us a two-week extension but woutd consider a 1o day extension
                                                                                  for our responses,
 subject to checking with the other attorneys on your team. Thanks for your
                                                                               consideration.

 Thanks..

 Ron Harris


 From: Katherine Barrett Riley <KBRiley@BarrettlawGroup.com>
 Sent: Tuesday, May 2L,2024 6:56 pM
 To: Ronald G. Harris <rharris@nealharwell.com>
 cc: Philip N' Elbert <pelbert@nealharwell'com>; olivia R. Arboneaux<oarboneaux@nealharwell.com>;
                                                                                                  Nanci-Taylor
 Maddux <NTMaddux@ Ba rrettLawGroup.com>
 Subject: RE: Sills v. Southern Baptist Convention et al

Hi, Ron' This confirms that I have granted an extension untit luneT,and I
                                                                          am wittingto discuss a further extension
for a rotting production of documents after that date. Katherine

I(atfrerine Earrett Nkl
Q.O. cBo4927
Lefington, *LS 39095
 662-834-2485
          @6arre                  coffi

From: Ronald G. Harris <rha rris@nea lharwell.com>
Sent: Tuesday, May 2I,2024 6:50 pM
To: Katherine Ba rrett Riley <KBRilev@ BarrettLawG roup.com>
Cc: Philip N. Elbert <pelbert@nealharwell.com>; olivia R. Arboneaux <oarboneaux@nealharwell.com>
Subject: Sills v. Southern Baptist Convention et al

Katherine, this is to confirm our conversation today that you are witting to give
                                                                                  our ctient Jennifer Lyett an
extension, up to and inctuding JuneT to respond to the
outstanding discovery requests that the Ptaintiffs had propounded to Ms. Lyett. I asked
                                                                                            for a tonger extension of
time given the amount of materiatthat we are going to

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have to review. You advised that you had given other defendants an extension untit
                                                                                     June 7 and wanted to hotd that
date for now for "house-keeping purposes." This is to confirm that you
advised "off the record" that we coutd revisit that date with you if we needed more time.

Thanks for your cooperation in this matter.

Ron




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